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               EXHIBIT
                  1
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  1                       UNITED STATES DISTRICT COURT
  2                      NORTHERN DISTRICT OF CALIFORNIA
  3                                  SAN FRANCISCO
  4
  5    - - - - - - - - - - - - - - x
  6    CRISTA RAMOS, et al.,                 :
  7                    Plaintiffs,           :   Case No.
  8    v.                                    :   3:18-cv-1554-EMC
  9    KIRSTJEN NIELSEN, et al.,             :
10                     Defendants.           :
11     - - - - - - - - - - - - - - x
12
13                VIDEOTAPED DEPOSITION OF JAMES D. NEALON
14                           Tuesday, August 14, 2018
 15                           Boston, Massachusetts
 16
 17
 18
 19
 20
 21
 22
 23     Job No.:      LA-187775
 24     Pages 1 - 276
 25     Reported By:       Dana Welch, CSR, RPR, CRR


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  1
  2
  3                             August 14, 2018
  4                                9:04 a.m.
  5
  6              Videotaped Deposition of JAMES NEALON held
  7   at the law offices of SIDLEY AUSTIN, LLP, 60 State
  8   Street, 36th Floor, Boston, Massachusetts 02109,
  9   Pursuant to Notice, before Dana Welch,
10    Certified Shorthand Reporter,          Registered Professional
11    Reporter, Certified Realtime Reporter, and Notary
12    Public in and for the Commonwealth of Massachusetts.
13
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  1    primary advisor on international affairs, and as                      09:23:56
  2    such, you manage a staff that provides information,                   09:24:00
  3    and you also have to maintain relationships with                      09:24:05
  4    the State Department, other members of the                            09:24:08
  5    interagency, foreign embassies, and our own                           09:24:13
  6    embassies downrange.                                                  09:24:17
  7         Q.   And how would you answer that question for                  09:24:22
  8    the policy position, who were the people or                           09:24:23
  9    entities that you were most often in contact with                     09:24:26
10     for that position?                                                    09:24:26
11          A.   So for the policy job, that was more of an                  09:24:26
12     internal U.S. government job than an external                         09:24:32
13     outward-looking job.        So I was most often in                    09:24:36
14     contact with my own staff, with other elements of                     09:24:40
15     DHS, with the Secretary and her staff, and then                       09:24:45
16     other elements of the interagency.                                    09:24:49
17          Q.   And when did you leave that position?                       09:24:53
18          A.   I believe it was late February of 2018.                     09:24:55
19          Q.   What led you to leave that position?                        09:24:59
20          A.   Um, I decided I had to leave.           I was a             09:25:02
21     political appointee, and I was no longer a                            09:25:13
22     professional career government official, and as a                     09:25:16
23     political appointee, I believe very strongly that                     09:25:21
24     if you can't support the whole range of policies                      09:25:25
25     that you were appointed to support, then you are                      09:25:31


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  1    obligated to leave, so I left.                                        09:25:34
  2         Q.   Are you currently employed for the                          09:25:36
  3    government or in any position?                                        09:25:38
  4         A.   I'm not.                                                    09:25:40
  5         Q.   Okay.    Can you step back from prior to                    09:25:40
  6    your DHS position, what was your immediately                          09:25:53
  7    preceding position prior to the DHS position?                         09:25:57
  8         A.   So immediately before going to work for                     09:25:59
  9    DHS, I was Ambassador to Honduras.                                    09:26:04
10          Q.   And what was the time period in which you                   09:26:07
11     were Ambassador to Honduras?                                          09:26:09
12          A.   I was Ambassador to Honduras from August                    09:26:12
13     of 2014 to June of 2017.                                              09:26:15
14          Q.   Did you have a break in between the period                  09:26:19
15     when you ended your ambassadorship and when you                       09:26:24
16     started your position at DHS?                                         09:26:27
17          A.   I was retired for three weeks.            It was            09:26:29
18     wonderful.                                                            09:26:36
19          Q.   Probably not quite long enough.                             09:26:37
20               Who did you report to in your position as                   09:26:39
21     Ambassador?                                                           09:26:41
22          A.   That's a good question.          On paper, you              09:26:43
 23    report to the President of the United States                          09:26:47
 24    through the Secretary of State.            In fact, in                09:26:49
 25    practice, ambassadors report to the Assistant                         09:26:52


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  1    Secretary of State for the geographic bureau in                       09:26:58
  2    which their embassy sits.                                             09:27:02
  3               So in my case, I was reporting to the                      09:27:05
  4    Assistant Secretary of State for Western Hemisphere                   09:27:07
  5    Affairs.                                                              09:27:11
  6         Q.   And what would you describe as your main                    09:27:11
  7    job responsibilities as Ambassador?                                   09:27:13
  8         A.   So an Ambassador's job is to be the                         09:27:17
  9    President's personal representative in a country                      09:27:21
10     and to manage all U.S. government personnel and                       09:27:23
11     programs in that country.                                             09:27:26
12          Q.   Did you engage at all in issues related to                  09:27:31
13     Temporary Protected Status while you were                             09:27:37
14     Ambassador to Honduras?                                               09:27:40
15          A.   Yes.                                                        09:27:41
16          Q.   How did you engage in issues related to                     09:27:41
17     Temporary Protected Status?                                           09:27:44
18          A.   So this is not a high definition memory,                    09:27:46
19     this is a lower definition memory, but I believe we                   09:27:59
20     went through the process of when a country comes up                   09:28:02
21     for renewal of Temporary Protected Status, the                        09:28:04
22     State Department asks the U.S. embassy in that                        09:28:10
23     country to weigh in and make a recommendation on                      09:28:12
24     whether the embassy believes that the TPS should be                   09:28:15
25     renewed or not.                                                       09:28:18


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  1    about TPS.     Certainly, we were on e-mail chains and                09:44:10
  2    we were in meetings, but she is not someone that I                    09:44:14
  3    would normally reach out to to discuss TPS.                           09:44:17
  4         Q.   Did you know the role that she played with                  09:44:21
  5    regard to TPS?                                                        09:44:26
  6         A.   I couldn't tell you specifically what her                   09:44:26
  7    role was, no.                                                         09:44:29
  8         Q.   Did you understand that she had a role                      09:44:29
  9    with regard to TPS?                                                   09:44:31
10          A.   Yes.                                                        09:44:32
11          Q.   Okay.    Did you know Robert Law while you                  09:44:33
12     were at DHS?                                                          09:44:37
13          A.   I don't recall the name.                                    09:44:39
14          Q.   Okay.    Did you know Brandon Prelogar while                09:44:39
15     you were at DHS?                                                      09:44:44
16          A.   Again, I don't recall the name, sorry.                      09:44:46
17          Q.   That's okay.      Okay.    So we'll move on from            09:44:48
18     USCIS.    I imagine you have greater understanding of                 09:44:51
19     the process at DHS.                                                   09:44:53
20               Can you walk me through at a high level                     09:44:55
21     your understanding of the process for a DHS review                    09:45:00
22     of a TPS designation for a country that has already                   09:45:05
23     been designated for TPS?                                              09:45:11
24          A.   Yeah.    So I can walk you through what I                   09:45:14
25     observed.                                                             09:45:18


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  1              So during Acting Secretary Duke's tenure,                   09:45:20
  2    she was a very active consumer of information about                   09:45:27
  3    TPS, and so she solicited written materials and --                    09:45:32
  4    and opinions from staff about TPS.                                    09:45:39
  5              And then the more formal process, of                        09:45:44
  6    course, is that she would receive input directly                      09:45:48
  7    from the Department of State, from the Secretary of                   09:45:51
  8    State, and from the Director of USCIS, she would                      09:45:54
  9    receive that input in written form and then she                       09:45:58
10     would make a decision.                                                09:46:00
11               It was a secretarial decision whether or                    09:46:01
12     not to renew TPS or not.                                              09:46:04
13          Q.   What kind of information did she seek in                    09:46:06
14     order to make a determination with regard to TPS?                     09:46:09
15          A.   So what I observed is that she read                         09:46:12
16     voraciously, so she read press reports, she read                      09:46:17
17     intel reports, she read outside analyses provided                     09:46:23
18     by civil society, and then she solicited oral                         09:46:29
19     opinions from staff members.                                          09:46:40
20          Q.   Did she directly seek the information that                  09:46:42
21     you're describing, or did she have staff under her                    09:46:53
22     who were collecting this information?                                 09:46:57
23          A.   What I recall is both.                                      09:46:59
24          Q.   What is the kind of information that she                    09:47:01
25     was directly seeking, in your memory?                                 09:47:04


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  1         A.   Um, she -- again, in my recollection, she                   09:47:07
  2    was interested in the law, what does the law say.                     09:47:11
  3    She was very interested in country conditions.                She     09:47:17
  4    was very -- in the countries that had TPS.                            09:47:22
  5              She was very interested in U.S. policy                      09:47:26
  6    implications, in other words, what are the                            09:47:29
  7    implications of sending people back to these                          09:47:31
  8    countries, how does that play for U.S. interests.                     09:47:33
  9              She was very interested in the effect of                    09:47:36
10     sending people back on -- on -- on migration, on                      09:47:39
11     whether or not sending people back would have the                     09:47:48
12     net effect of increasing rather than decreasing                       09:47:51
13     migration.                                                            09:47:54
14               So again, in my experience, she -- she                      09:47:55
15     cast a very wide net in terms of gathering                            09:47:58
16     information.                                                          09:48:01
17          Q.   And who were the staff underneath her who                   09:48:01
18     were all -- most responsible for collecting                           09:48:05
19     information with regard to TPS determinations?                        09:48:07
20          A.   Um, so I don't know specifically who on                     09:48:10
21     her inner staff was doing that for her.              I don't          09:48:14
22     know.                                                                 09:48:21
23          Q.   From what you recall, she was quite                         09:48:21
24     hands-on, though, with regard to TPS                                  09:48:26
25     determinations?                                                       09:48:29


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  1    process privilege asserted.                                           09:50:57
  2              MR. KIRSCHNER:       I will say, though, that               09:50:58
  3    to the extent you can answer this question in ways                    09:51:00
  4    that do not implicate the internal government                         09:51:03
  5    deliberations, then feel free to answer.                              09:51:06
  6         A.   I'm not a lawyer, so --                                     09:51:12
  7              MR. KIRSCHNER:       Well --                                09:51:15
  8         A.   So I do recall a conversation with Kelly                    09:51:16
  9    about Haiti, but it -- it was not a decision                          09:51:18
10     conversation.      It was a discussion, it was a                      09:51:25
11     conversation.      So in that sense, I believe it was                 09:51:27
12     deliberative, but...                                                  09:51:30
13               MR. KIRSCHNER:       Okay.    I'll instruct you             09:51:34
14     not to answer about internal government                               09:51:36
15     deliberations.                                                        09:51:40
16          Q.   Okay.    You described your understanding of                09:51:41
17     how Secretary Duke was making decisions with regard                   09:51:47
18     to TPS and how she consumed information, the kind                     09:51:51
19     of information she sought, and how directly she was                   09:51:53
20     involved in the TPS determination process.                            09:51:56
21               What would you say with regard to                           09:51:59
22     Secretary Kelly's overview of -- and oversight of                     09:52:01
23     the TPS determination process to the extent that                      09:52:07
24     you know?                                                             09:52:09
25          A.   You know, I only overlapped with him for                    09:52:11


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  1    -- for those three weeks, and as I say, I don't                       09:52:15
  2    recall a TPS decision coming to a head during the                     09:52:19
  3    time that we were together, so I don't have the                       09:52:21
  4    same sense of Kelly's decision-making process that                    09:52:25
  5    I have of Acting Secretary Duke's.                                    09:52:30
  6         Q.   Did you overlap with Secretary Nielsen                      09:52:34
  7    while she was Secretary?                                              09:52:37
  8         A.   I did.                                                      09:52:38
  9         Q.   Did you overlap with Secretary Nielsen                      09:52:39
10     while TPS decisions were being made?                                  09:52:44
11          A.   Yes.                                                        09:52:46
12          Q.   How would you describe her oversight of                     09:52:46
13     the TPS decision-making process?                                      09:52:49
14          A.   She's a very different Secretary than                       09:52:52
15     Acting Secretary Duke was, they're just different                     09:52:58
16     people with different personalities and different                     09:53:01
17     styles.                                                               09:53:03
18               I would say that Secretary Nielsen started                  09:53:08
19     from a much more granular level of understanding of                   09:53:11
20     TPS because of her previous experience than did                       09:53:16
21     Acting Secretary Duke, who came out of a management                   09:53:21
22     background and not a policy background.              So I would       09:53:24
23     say that Secretary Nielsen, as I say, started at a                    09:53:36
24     higher level of understanding of TPS in general.                      09:53:39
25          Q.   What would you say her understanding of                     09:53:41


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  1    TPS was at that time or --                                            09:53:45
  2              MS. MacLEAN:      Scratch that.                             09:53:49
  3         Q.   Where would you say that she gained her                     09:53:51
  4    understanding of TPS?                                                 09:53:52
  5         A.   I think from her previous experience in                     09:53:53
  6    government, as well as her time as Secretary                          09:53:56
  7    Kelly's Chief of Staff and then her time at the                       09:54:00
  8    White House as Kelly's deputy Chief of Staff.                         09:54:02
  9         Q.   Could you describe her perspective of TPS                   09:54:06
10     to the extent that you know?                                          09:54:12
11          A.   No.    I don't think I could do that.                       09:54:19
12          Q.   You described Acting Secretary Duke as                      09:54:21
13     seeking substantial information from various                          09:54:25
14     sources both directly and indirectly, herself and                     09:54:28
15     through her staff, in the process of making a TPS                     09:54:32
16     determination.       Would you describe Secretary                     09:54:34
17     Nielsen in the same way?                                              09:54:37
18          A.   So I didn't have the same level of                          09:54:39
19     visibility on whatever process Secretary Nielsen                      09:54:41
20     went through to prepare herself to make TPS                           09:54:46
21     decisions.      But I did participate in meetings with                09:54:49
22     her, with representatives of foreign countries who                    09:54:54
23     were lobbying her to extend TPS.            I participated in         09:54:58
24     meetings with her, this is Secretary Nielsen, in                      09:55:04
25     meetings with civil society and faith-based groups                    09:55:07


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  1    who were lobbying her to extend TPS.             Our office             09:55:11
  2    provided, at her instruction, written materials                         09:55:16
  3    that had come in from civil society and faith-based                     09:55:22
  4    groups making a case for extension of TPS.               We             09:55:26
  5    provided those documents to her staff so that she                       09:55:30
  6    could read them.       So there was a very active                       09:55:33
  7    process.     But I probably couldn't go any further in                  09:55:37
  8    describing how she prepared herself to make those                       09:55:42
  9    decisions.                                                              09:55:45
10          Q.   You said that you didn't have the same                        09:55:46
11     visibility into the process for Secretary Nielsen's                     09:55:47
12     TPS decision-making as you did for Acting Secretary                     09:55:51
13     Duke's decision making.         Why would you say that is?              09:55:55
14          A.   Well, I think it was just personalities,                      09:55:58
15     just the way that Acting Secretary Duke gathers                         09:56:01
16     information before making a decision is very                            09:56:07
17     verbal, very open, very solicitous, and Secretary                       09:56:13
18     Nielsen is simply a different personality.                              09:56:20
19          Q.   Who do you know to be involved in the TPS                     09:56:22
20     decision-making process at DHS?                                         09:56:28
21                MR. KIRSCHNER:      Objection, vague.                        09:56:31
22          Q.   You can answer the question, if you                           09:56:34
23     understand it.                                                          09:56:37
24          A.    Well, I mean, it's a secretarial decision.                   09:56:38
25     So it's as simple as that.          It's a secretarial                  09:56:42


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  1    decision, and various secretaries would go through                    09:56:48
  2    their distinct processes to gather information                        09:56:53
  3    before they made their decisions.            So there's the           09:56:56
  4    formal process of the written materials that we've                    09:56:59
  5    discussed, and then there's a less formal process                     09:57:02
  6    of soliciting information and reading and talking                     09:57:06
  7    and discussing.                                                       09:57:09
  8         Q.   Are there people in particular at DHS who                   09:57:13
  9    are more involved in the DHS TPS determination                        09:57:16
10     process?                                                              09:57:22
11                MR. KIRSCHNER:      Objection, vague.                      09:57:22
12          Q.   If you understand the question, you can                     09:57:24
13     answer it.      If not, I can rephrase.                               09:57:26
14          A.   Yeah.    So I think, again, it's a                          09:57:29
15     secretarial decision, so everyone else is simply                      09:57:32
16     giving advice, right?         But the entities within DHS             09:57:37
17     that were most concerned with TPS would be the                        09:57:46
18     Office of Policy, the Office of International                         09:57:52
19     Affairs, which deals with those countries that have                   09:57:57
20     TPS and USCIS, which administers TPS.                                 09:58:01
21          Q.   Were there secretarial advisors who were                    09:58:06
22     also involved in the process?                                         09:58:09
23          A.   Yes.                                                        09:58:10
24                MR. KIRSCHNER:      Objection.      I was going to         09:58:11
25     say objection, vague.         The word "involved" is                  09:58:13


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  1    vague.                                                                09:58:15
  2         Q.   Who were the secretarial advisors who were                  09:58:16
  3    involved in the process?                                              09:58:20
  4              MR. KIRSCHNER:       Again, objection, vague.               09:58:21
  5         A.   So again, there were a series of                            09:58:23
  6    decisions, so I'm painting with a bit of a broad                      09:58:27
  7    brush here.      But on the Secretary's staff there are               09:58:31
  8    counsellors who have portfolios, and the counsellor                   09:58:39
  9    who had the immigration portfolio was a gentleman                     09:58:43
10     named Gene Hamilton.        Of course, the Secretary's                09:58:47
11     Chief of Staff advised her on all things, on all                      09:58:52
12     decisions.      Yeah.                                                 09:58:55
13          Q.   Does the phrase "front office review" mean                  09:59:03
14     anything to you?                                                      09:59:10
15          A.   Um, you know, as a longtime bureaucrat, I                   09:59:10
16     assume that means that a document goes up to the                      09:59:19
17     Secretary's office and gets reviewed by people in                     09:59:22
18     the front office before it gets put in front of the                   09:59:25
19     Secretary, but I'm not certain that that's a formal                   09:59:27
20     technical term.                                                       09:59:32
21          Q.   Do you have an understanding of who is in                   09:59:36
22     the DHS front office?                                                 09:59:38
23          A.   I have an understanding of who was in the                   09:59:39
24     DHS front office when I was there.                                    09:59:42
25          Q.   Who was in the DHS front office when you                    09:59:45


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  1    that were at issue in this conversation?                              10:35:24
  2          A.   I recall her at this meeting being very                    10:35:25
  3    interested in getting more information on El                          10:35:28
  4    Salvador and Honduras.                                                10:35:36
  5          Q.   Which Secretary was this?                                  10:35:37
  6          A.   Acting Secretary Duke.                                     10:35:38
  7          Q.   Do you recall who raised the issue of TPS                  10:35:44
  8    at this meeting?                                                      10:35:48
  9          A.   She did.                                                   10:35:48
10           Q.   Do you recall what type of information she                 10:35:49
11     was specifically seeking?                                             10:35:55
12           A.   I do, but it was a classified discussion                   10:35:55
13     and I'm afraid I can't go any further.                                10:35:58
14           Q.   Okay.    Did the -- did -- was the                         10:36:00
15     information that she sought ultimately provided?                      10:36:05
16           A.   Some information was ultimately provided                   10:36:08
17     to her; whether all her questions were answered or                    10:36:14
18     not, I don't know.                                                    10:36:18
19           Q.   So there was a review of TPS for Honduras.                 10:36:19
20     Well, how many reviews is -- how many times was                       10:36:40
21     TPS -- was Honduras up for review for TPS at the                      10:36:42
22     time that you were at DHS?                                            10:36:47
23           A.   Certainly once.       I'm hesitating because,              10:36:52
 24    you know, it's a rolling thing.             As you know, TPS          10:37:06
 25    was extended for six months, which means that she                     10:37:10


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  1    immediately had to start thinking about the next                      10:37:16
  2    iteration of that.        So that's why I'm hesitating to             10:37:19
  3    say how many times did it come up.                                    10:37:23
  4              It was on the plate during the time she                     10:37:25
  5    was the Acting Secretary.                                             10:37:28
  6         Q.   And the first time that Honduras was                        10:37:30
  7    reviewed for TPS, was it reviewed alongside the                       10:37:33
  8    review for El Salvador?                                               10:37:36
  9         A.   So my recollection is that Honduras and El                  10:37:41
10     Salvador are on slightly different schedules, but                     10:37:46
11     that there was a general understanding that                           10:37:48
12     Honduras and El Salvador had to be addressed in a                     10:37:51
13     similar way because U.S. equities in both countries                   10:37:57
14     are very similar, and there would be -- there could                   10:38:02
15     be implications for U.S. policy if they were                          10:38:07
16     treated differently, so even though they were on                      10:38:09
17     different time frames, there was an effort to treat                   10:38:13
18     them similarly and on the same time frame.                            10:38:17
19          Q.   So do you recall whether this meeting that                  10:38:23
20     you're describing was a meeting that predated the                     10:38:30
21     first decision by Acting Secretary Duke with regard                   10:38:33
22     to TPS for Honduras?                                                  10:38:39
23          A.   I don't recall specifically, no.                            10:38:41
24          Q.   Do you recall -- you said that you                          10:38:42
25     recalled one specific meeting and gave some                           10:38:45


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  1    background on that meeting.                                           10:38:47
  2               Are there any other instances that you                     10:38:48
  3    recall where TPS came up in those morning meetings                    10:38:50
  4    for the DHS Secretary?                                                10:38:53
  5          A.   I don't recall specific instances.                         10:38:55
  6               MR. KIRSCHNER:       How are we doing on time              10:39:00
  7    and questioning -- of where you are with the line                     10:39:02
  8    of questioning and break?                                             10:39:06
  9               MS. MacLEAN:      Maybe I'll cover the other               10:39:07
10     two standing meetings that you have and then we'll                    10:39:09
11     take a break, if that -- is that okay with you?                       10:39:12
12                THE WITNESS:      It's okay with me.                       10:39:14
13                MS. MacLEAN:      Does that work?        Okay.             10:39:16
14           Q.   So you described the second meeting --                     10:39:16
15     second type of standing meeting that you described                    10:39:19
16     was a meeting that was held by the DHS Chief of                       10:39:22
17     Staff generally a couple of times a week.                             10:39:26
18                Did TPS ever come up in those meetings, to                 10:39:29
19     your recollection?                                                    10:39:32
20           A.   I'm sure it did.        That meeting -- you                10:39:33
21     know, the Secretary's meeting that I described was                    10:39:36
22     by definition very, very high level, what does the                    10:39:40
23     Secretary need to know.          The Chief of Staff's                 10:39:43
24     meeting was a different meeting.             It was more of a         10:39:46
25     what do people need to do today, what's going on,                     10:39:49


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  1    Security, but obviously, it has to be in a timely                     11:27:20
  2    way so that the Secretary of Homeland Security has                    11:27:23
  3    time to consider that input before rendering her                      11:27:26
  4    decision.                                                             11:27:28
  5         Q.   So you started off by saying the way that                   11:27:30
  6    it's supposed to work and then outlined the                           11:27:33
  7    process.                                                              11:27:36
  8         A.   (Nodding head up and down.)                                 11:27:37
  9         Q.   Is it your recollection that it generally                   11:27:38
10     worked in the way that you described?                                 11:27:40
11          A.   It's my recollection that the State                         11:27:41
12     Department was often very slow and late in getting                    11:27:44
13     their materials to the Secretary so that she had                      11:27:49
14     sufficient time to consider those materials before                    11:27:53
15     making her decision.                                                  11:27:55
16          Q.   Do you recall sort of approximately at                      11:27:57
17     what stage of the process the Secretary of State or                   11:28:02
18     the Deputy Secretary of State engaged with the DHS                    11:28:06
19     Secretary or DHS with the recommendations?                            11:28:09
20                MR. KIRSCHNER:      Objection, vague.        It's          11:28:11
21     general in the context of the questions at issue in                   11:28:16
22     this case.                                                            11:28:21
23          A.   So for example, in the case of Sudan, I                     11:28:22
24     believe the Department of State's paperwork was                       11:28:31
25     very late in arriving at Homeland Security and I                      11:28:35


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  1    recall that being an issue.                                           11:28:43
  2         Q.   In what way was it an issue?                                11:28:44
  3         A.   It was an issue in that the Secretary's                     11:28:46
  4    office -- Secretary of homeland security's office                     11:28:50
  5    was clamoring for that input so that she would have                   11:28:54
  6    sufficient time to read it, process it, before                        11:28:58
  7    having to make her decision.                                          11:29:00
  8         Q.   You had described at the outset your role                   11:29:01
  9    as engaging with the State Department and as one of                   11:29:04
10     the key entities within the Department of Homeland                    11:29:07
11     Security that was engaged with the State                              11:29:10
12     Department.      Had you engaged with the State                       11:29:12
13     Department in your recollection in the -- in                          11:29:14
14     connection with the particular case of the TPS                        11:29:18
15     determination of Sudan?                                               11:29:22
16          A.   Yes, I believe so.        And the reason I say I            11:29:23
17     believe so is because it's sometimes difficult for                    11:29:26
18     me to separate in my mind which TPS decision, a                       11:29:29
19     particular phone call, or conversation took place                     11:29:33
20     regarding.      But I do recall talking to the State                  11:29:36
21     Department about the Sudan paperwork and expressing                   11:29:44
22     the Secretary of Homeland Security's displeasure                      11:29:49
23     with the lateness of that paperwork.                                  11:29:53
24          Q.   Do you recall what the response was from                    11:30:04
25     the --                                                                11:30:04


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  1              MS. MacLEAN:      Well, let me step back.                    11:30:04
  2         Q.   Do you recall who you communicated with at                   11:30:04
  3    the State Department regarding those concerns?                         11:30:06
  4         A.   So I don't specifically in the case of                       11:30:08
  5    Sudan remember who I communicated with.              But I             11:30:10
  6    generally communicated with a gentleman -- in                          11:30:14
  7    issues regarding TPS, I generally communicated with                    11:30:16
  8    a gentleman named Simon Henshaw.            H-e-n-s-h-a-w.             11:30:21
  9         Q.   Do you recall what Mr. Henshaw's role was                    11:30:26
10     at the Department of State?                                            11:30:30
11          A.   So his role was the acting Assistant                         11:30:32
12     Secretary of the Bureau of Population, Refugees and                    11:30:36
13     Migration.                                                             11:30:40
14          Q.   Do you recall what his response was to                       11:30:41
15     your expression of concerns about the lateness of                      11:30:44
16     the State Department's response?                                       11:30:49
17          A.   Yes.    He expressed similar frustration in                  11:30:58
18     that his office had sent the paperwork forward in                      11:31:02
19     what he considered to be a timely fashion, but it                      11:31:06
20     had gotten stuck in the Secretary of State's office                    11:31:09
21     and was sitting there.                                                 11:31:12
22          Q.   Did you recall him expressing any                            11:31:14
23     explanation as to why it had gotten stuck in the                       11:31:16
24     front office?                                                          11:31:20
25          A.   I don't.                                                     11:31:20


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  1    to remember when -- who was Secretary at a specific                   11:44:04
  2    time.                                                                 11:44:06
  3           Q.   Um-hum.                                                   11:44:07
  4           A.   So I've described the drama surrounding                   11:44:07
  5    the timeliness of the paperwork on Sudan and then                     11:44:12
  6    on Central America, and I believe Acting Secretary                    11:44:16
  7    Duke was the Acting Secretary during both of those                    11:44:19
  8    periods of time.       So again I just don't recall it                11:44:24
  9    being an issue -- that State Department paperwork                     11:44:27
10     being an issue during Secretary Nielsen's time.                       11:44:29
11            Q.   Do you know what the basis was of the                     11:44:32
12     State Department --                                                   11:44:35
13                 MS. MacLEAN:    Let's step back.                          11:44:37
14            Q.   Do you know what the process was for the                  11:44:38
15     State Department coming up with their                                 11:44:40
16     recommendations regarding TPS determinations?                         11:44:42
17                 MR. KIRSCHNER:     Objection, calls for                   11:44:47
18     speculation.                                                          11:44:49
19            A.   Yeah, I don't know the specifics of                       11:44:50
20     their -- of their internal process.                                   11:44:52
21            Q.   Do you know generally what the process                    11:44:54
22     was?                                                                  11:44:56
23            A.   So -- yes.    So the State Department would               11:44:56
24     make a recommendation to the Secretary of State,                      11:45:05
25     which the Secretary of State could either accept or                   11:45:10


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  1    reject.     And that recommendation that went up to                   11:45:14
  2    the Secretary's office would go through a clearance                   11:45:21
  3    process within the Department of State so that all                    11:45:26
  4    of the various elements and entities within the                       11:45:29
  5    Department of State that had equities in the                          11:45:31
  6    decision would have their input.            I described               11:45:34
  7    earlier that the embassy would provide input to the                   11:45:37
  8    Department of State, the Bureau of Western                            11:45:42
  9    Hemisphere Affairs would provide input and                            11:45:46
10     certainly the Bureau of Population, Refugee and                       11:45:50
11     Migration would provide input.           But who would                11:45:55
12     actually write the memo to the Secretary of State,                    11:45:58
13     I'm not sure.                                                         11:46:01
14          Q.   Do you know what the basis was for the                      11:46:02
15     recommendation that came from the Department of                       11:46:05
16     State or what considerations were at issue?                           11:46:06
17               MR. KIRSCHNER:       Objection, calls for                   11:46:08
18     speculation.                                                          11:46:17
19          A.   Yeah, very difficult question to answer.                    11:46:17
20     I mean, in broad terms certainly the statute, what                    11:46:19
21     does the statute say, and then foreign policy                         11:46:25
22     considerations, the Department of State manages the                   11:46:29
23     foreign policy of the United States, so that's                        11:46:32
24     their equity in the decision.                                         11:46:34
25          Q.   From your experience at the embassy, you                    11:46:36


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  1    described this to some degree, and you also, I                        11:46:46
  2    imagine, saw this in some capacity in your position                   11:46:48
  3    as DHS, but did the State Department typically                        11:46:51
  4    consider the recommendations of diplomats in making                   11:46:56
  5    a recommendation concerning TPS?                                      11:46:59
  6              MR. KIRSCHNER:       Objection, calls for                   11:47:01
  7    speculation, vague.        Compound.                                  11:47:04
  8         A.   So generally speaking, an ambassador's                      11:47:11
  9    input carries a tremendous amount of weight in the                    11:47:14
10     Department of State.        So for the Department of                  11:47:18
11     State to reject an ambassador's recommendation and                    11:47:20
12     make a different recommendation to the Secretary of                   11:47:24
13     State, there would generally be a lot of discussion                   11:47:28
14     with the ambassador about that.            And so, as I say,          11:47:34
15     an ambassador's recommendation carries a lot of                       11:47:40
16     weight.                                                               11:47:45
17          Q.   You said there would generally be a                         11:47:45
18     significant amount of discussion if the State                         11:47:49
19     Department was to reject a recommendation from the                    11:47:51
20     ambassador.      Typically, who would that discussion                 11:47:54
21     be between?                                                           11:47:58
22               MR. KIRSCHNER:       Objection, vague, calls                11:47:58
23     for speculation.                                                      11:48:01
24          A.   So in my experience, the way that would                     11:48:02
25     normally work is if the ambassador would make a                       11:48:08


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  1    the Department?                                                       12:15:38
  2         A.   Yes.                                                        12:15:39
  3         Q.   And was that communication related to the                   12:15:40
  4    expected end of TPS for Haiti?                                        12:15:51
  5         A.   You know what it was, it was a                              12:15:53
  6    conversation between two old friends.                                 12:15:58
  7         Q.   Um-hmm.     Can you say anything further                    12:16:04
  8    about the conversation?                                               12:16:07
  9               MR. KIRSCHNER:      Again, I object --                     12:16:07
10          A.   It was deliberative.                                        12:16:08
11          Q.   Okay.                                                       12:16:12
12                MS. MacLEAN:     I understand that lunch is                12:16:29
13     ready, so if you don't mind, we'll ask a few more                     12:16:31
14     questions and then we take a break for lunch unless                   12:16:35
15     you'd rather take a break right now?                                  12:16:38
16                MR. KIRSCHNER:      Can we take a two-minute               12:16:38
17     break just to see where we are on timing and check                    12:16:40
18     with Ambassador Nealon where he would want to take                    12:16:43
19     a break.                                                              12:16:48
20                MS. MacLEAN:     No problem.                               12:16:49
21                THE VIDEOGRAPHER:       Time is 12:16.       We are        12:16:50
22     off the record.                                                       12:16:52
23                (Proceedings interrupted at 12:16 p.m. and                 12:16:53
24     reconvened at 1:00 p.m.)                                              13:00:24
25                THE VIDEOGRAPHER:       Time is 1:00 p.m.       We         13:00:26


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  1    are back on the record.                                               13:00:36
  2    BY MS. MacLEAN:                                                       13:00:37
  3         Q.   Ambassador Nealon, you had mentioned                        13:00:38
  4    previously that you would check during the break                      13:00:41
  5    about the key DHS Office of Policy staff who were                     13:00:44
  6    involved in TPS decisions.          Were you able to                  13:00:49
  7    identify that?                                                        13:00:52
  8               MR. KIRSCHNER:      Objection.      I think that           13:00:53
  9    misrepresents Ambassador Nealon's testimony.               I          13:00:55
10     think he said that he would try to remember, not                      13:00:58
11     that he was going to be checking any documentation.                   13:01:01
12                MS. MacLEAN:     Fair enough.                              13:01:04
13          Q.   Are there now DHS Office of Policy staff                    13:01:05
14     who were involved in TPS decisions that you can                       13:01:07
15     recall?                                                               13:01:10
16          A.   So I think I can be pretty clear about                      13:01:10
17     this.     So there aren't really Office of Policy                     13:01:12
18     staff involved in the TPS decisions, because the                      13:01:18
19     decision really is -- really was and really is the                    13:01:23
20     Secretary's decision.         So there were -- and to the             13:01:28
21     extent that the Secretary wanted the Office of                        13:01:34
22     Policy's opinions about TPS, she would come to me.                    13:01:37
23     So there are other people in the Office of Policy                     13:01:41
24     who would participate in meetings or, you know, get                   13:01:45
25     involved in some way, but it wouldn't be accurate                     13:01:51


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  1    to say that those people were involved in the TPS                     13:01:56
  2    decision, I wouldn't say.                                             13:02:00
  3         Q.   And the --                                                  13:02:02
  4         A.   So for example, there are people who would                  13:02:03
  5    help arrange meetings when the Salvadorians or the                    13:02:06
  6    Hondurans called and wanted to meet with the                          13:02:11
  7    Secretary or meet with me, so they would get                          13:02:15
  8    involved in that way.         But I'm having a hard time              13:02:17
  9    thinking of other people in the Office of Policy                      13:02:23
10     who were really directly involved in the TPS                          13:02:25
11     decision process.                                                     13:02:30
12               I would say with the exception of my Chief                  13:02:32
13     of Staff who I mentioned previously, Briana Petyo,                    13:02:37
14     who -- the Chief of Staff was sort of my alter ego,                   13:02:40
15     and so she would sometimes substitute for me at                       13:02:45
16     meetings and things like that.           So she tended to             13:02:47
17     know what I knew and vice versa.                                      13:02:50
18          Q.   That's very helpful.                                        13:02:53
19          A.   So I hope that's a better answer.                           13:02:55
20          Q.   That's a very fair answer, and I don't                      13:02:56
21     think we need further follow-up questions.                            13:02:59
22               The one other item that I wanted to ask                     13:03:01
23     you about from before the break is that you had                       13:03:04
24     mentioned that when there are concerns from an                        13:03:06
25     ambassador, they wouldn't be easily rejected and                      13:03:10


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  1               MS. MacLEAN:      Is that correct?                         13:51:28
  2               MR. KIRSCHNER:       Correct.     I mean, I'll             13:51:34
  3    instruct you not to answer under deliberative                         13:51:34
  4    process, kind of the internal deliberations of --                     13:51:34
  5    in anticipation of a decision being made, besides                     13:51:37
  6    the general kind of context of what kind of were                      13:51:40
  7    considered, of what factored into a decision.                         13:51:44
  8          Q.   Let me see if I can clarify in a way that                  13:51:47
  9    doesn't raise deliberative process privilege                          13:51:50
10     concerns.                                                             13:51:53
11                Were any of these policy considerations                    13:51:53
12     discussed after a decision had been made?                             13:51:55
13           A.   You know, I -- I don't recall -- I don't                   13:52:03
14     recall such discussions after decisions were made,                    13:52:09
15     no.                                                                   13:52:12
16           Q.   Okay.    Let's turn to page --                             13:52:12
17                MR. KIRSCHNER:       I just want to make clear             13:52:18
18     that he -- that Ambassador Nealon can discuss                         13:52:20
19     generally what factors played into a decision.                  I     13:52:22
20     don't want to suggest that I'm shutting down one                      13:52:24
21     line of questioning on this.            I mean, Ambassador            13:52:28
22     Nealon has responded.          And so I don't want to give            13:52:30
23     the misimpression there.                                              13:52:32
24                What those internal deliberations were,                    13:52:33
25     who was making recommendations along those lines,                     13:52:36


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  1    that I would instruct you not to answer on all                        13:52:38
  2    these factors, but in terms of general factors, you                   13:52:42
  3    can provide a general overview of what factors went                   13:52:43
  4    into a decision for TPS.                                              13:52:46
  5                THE WITNESS:    Thank you.      That's helpful.           13:52:49
  6    So maybe I can clarify a little bit.                                  13:52:51
  7           A.   So, you know, whenever someone like the                   13:52:53
  8    Secretary of Homeland Security is faced with a                        13:52:55
  9    consequential policy decision like TPS, there are a                   13:52:59
10     number of factors that have to be taken into                          13:53:02
11     account.                                                              13:53:04
12                 And in the case of TPS, we've talked about                13:53:05
13     a couple of them.        One was the legal nature of TPS,             13:53:07
14     whether you interpret the statute strictly or more                    13:53:12
15     -- in a more flexible way.                                            13:53:16
16                 The other is the temporal nature of TPS,                  13:53:18
17     what does temporary protected status mean after                       13:53:21
18     20 years, for example.                                                13:53:26
19                 Then there are policy considerations, what                13:53:29
20     are the foreign policy consequences for the United                    13:53:32
21     States of extending or terminating TPS.              And then         13:53:36
22     finally, what are the domestic policy                                 13:53:43
23     considerations of either terminating or extending                     13:53:45
24     TPS.     So those are the kind of things that any of                  13:53:49
25     the secretaries would have taken into account when                    13:53:53


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  1    contemplating a decision.                                             13:53:56
  2          Q.   And when you referenced domestic policy                    13:53:57
  3    considerations, what are you referencing?                             13:54:01
  4          A.   Well, domestic politics, administration                    13:54:03
  5    policy.                                                               13:54:08
  6          Q.   And what would you consider to be                          13:54:08
  7    administration policy as it applies to TPS?                           13:54:10
  8               MR. KIRSCHNER:      Objection, calls for                   13:54:13
  9    speculation.                                                          13:54:14
10           A.   Yeah, I mean, I really refer you to the                    13:54:19
11     White House, to the president and his public                          13:54:24
12     statements on what -- on what administration policy                   13:54:26
13     is.                                                                   13:54:30
14           Q.   Okay.   If we can just go to page 4, the                   13:54:30
15     fourth full paragraph up, which is actually one                       13:54:50
16     sentence which starts with "the White House never                     13:54:52
17     got on board with the Senate proposal."              You can          13:54:53
18     maybe read from above "where negotiations break                       13:54:56
19     down" so you have the context.                                        13:54:58
20           A.   Okay.                                                      13:55:35
21           Q.   So the paragraph that starts with "the                     13:55:35
22     White House never got on board with the Senate                        13:55:37
23     proposal" includes reference to a meeting that was                    13:55:39
24     much publicized in which President Trump reportedly                   13:55:41
25     made a comment referring to certain immigrants as                     13:55:47


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  1    people from, in shorthand, S-hole countries, in the                   13:55:53
  2    Oval Office.                                                          13:55:57
  3               Are you aware of those public accounts of                  13:55:58
  4    the meeting?                                                          13:56:01
  5         A.   I'm aware of the public accounts of that                    13:56:02
  6    meeting.                                                              13:56:04
  7         Q.   Did you have any internal conversations                     13:56:04
  8    within DHS about such a meeting?                                      13:56:08
  9               MR. KIRSCHNER:      Objection, characterizing              13:56:10
10     the article, putting facts -- the testimony that                      13:56:12
11     counsel was testifying about the article.                             13:56:17
12     Ambassador Nealon, I would ask for -- ask                             13:56:20
13     Ambassador Nealon to be able to use his own                           13:56:25
14     language in responding to the question.              I also           13:56:28
15     would say that the question is calling for                            13:56:30
16     speculation about what was discussed at the                           13:56:33
17     meeting.     I object on speculative grounds.                         13:56:35
18          Q.   You can answer the question, were you                       13:56:38
19     aware of conversations about the meeting that was                     13:56:40
20     described in this paragraph, did you have such --                     13:56:42
21     did you have conversations about such a meeting                       13:56:47
22     internally within DHS?                                                13:56:50
23          A.   You know, I don't recall -- I don't recall                  13:56:58
24     conversations about the meeting.            I certainly               13:57:04
25     recall commentary about the alleged phrase that you                   13:57:08


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  1         A.   I think the important information here is                   14:34:45
  2    that my Chief of Staff in my absence was bringing                     14:34:48
  3    this series of events to the -- to the knowledge of                   14:34:53
  4    the front office.                                                     14:35:02
  5         Q.   Okay.                                                       14:35:03
  6              MR. KIRSCHNER:       I just want to -- I know               14:35:03
  7    you left out -- I just want to make sure that this                    14:35:04
  8    was -- counsel's representation of what Ambassador                    14:35:08
  9    Nealon's reaction is not Ambassador Nealon's                          14:35:11
10     recitation of how he reacted to this e-mail chain.                    14:35:15
11               MS. MacLEAN:      That's correct.       And I               14:35:20
12     retract that comment.         I apologize.                            14:35:23
13               So thank you.                                               14:35:25
14          Q.   I'm going to give you an exhibit that has                   14:36:21
15     previously been marked as Exhibit 12.                                 14:36:24
16               MR. KIRSCHNER:       Are we going to be able to             14:36:31
17     fit this one in?                                                      14:36:33
18               MS. MacLEAN:      No.    We'll start it now, and            14:36:34
19     we'll come back to it after the phone call.                           14:36:37
20               MR. KIRSCHNER:       Sorry.    I didn't mean                14:36:43
21     to...                                                                 14:36:48
22          A.   Okay.                                                       14:36:54
23          Q.   Do you recall this document?                                14:36:55
24          A.   I do.                                                       14:36:57
25          Q.   Can you describe what this document was                     14:36:57


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  1    and the context in which it was written?                              14:37:02
  2              MR. KIRSCHNER:       Objection to the extent it             14:37:04
  3    calls for a narrative answer.                                         14:37:06
  4         A.   So as I described, Acting Secretary Duke's                  14:37:09
  5    information-gathering process in anticipation of                      14:37:20
  6    making TPS decisions, she was casting a very wide                     14:37:24
  7    net and reading voraciously and consulting widely,                    14:37:30
  8    and she asked me to write something for her that                      14:37:36
  9    gave my opinion on the TPS decision.                                  14:37:46
10          Q.   At what point did Ambassador -- sorry, did                  14:37:49
11     Acting Secretary Duke ask you to write something to                   14:37:54
12     provide your opinion?                                                 14:37:57
13          A.   My guess is since this is dated                             14:38:00
14     October 31st, on October 30th or October 31st.                So      14:38:05
15     if she had asked for it, I would have done it and                     14:38:09
16     sent it up to her immediately.                                        14:38:12
17          Q.   Consistent with your previous answer about                  14:38:14
18     responding to the requests from the Acting                            14:38:19
19     Secretary or the Secretary.                                           14:38:22
20               Do you recall the basis for your -- your                    14:38:22
21     representations that are included within this                         14:38:32
22     memorandum for the Acting Secretary?                                  14:38:33
23          A.   Yes.                                                        14:38:36
24               MR. KIRSCHNER:       Going to object as vague.              14:38:36
25          Q.   What was -- what was the basis for your                     14:38:39


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  1    representations expressed in this memorandum for                      14:38:40
  2    the Acting Secretary?                                                 14:38:43
  3         A.   So I knew that she had talked to a                          14:38:46
  4    tremendous number of people, I knew that she had                      14:38:49
  5    read volumes and volumes.          She had consulted with             14:38:52
  6    faith-based groups, with foreign governments, with                    14:38:57
  7    civil society, and so what I wanted to do is write                    14:39:01
  8    her something that was very short and pithy and                       14:39:04
  9    which might help her weed through and make sense of                   14:39:12
10     everything that she had heard and read.                               14:39:14
11          Q.   Had you expressed -- well, is it fair to                    14:39:19
12     characterize the representations that you include                     14:39:22
13     within this memo as expressions of concern about                      14:39:25
14     the possible termination of TPS for Honduras,                         14:39:34
15     Nicaragua, and El Salvador?                                           14:39:38
16               MR. KIRSCHNER:       Objection, counsel is                  14:39:40
17     testifying.      Ambassador Nealon should be able to                  14:39:43
18     address the memo in his own words.                                    14:39:46
19          Q.   How would you characterize the                              14:39:48
20     recommendation that you're making within this memo?                   14:39:52
21          A.   I tried to write something that I                           14:39:56
22     considered to be very pragmatic.            And so, I mean, I         14:39:58
23     think the memo speaks for itself.            I don't feel the         14:40:01
24     need to describe the memo since you have it.               But        14:40:04
25     that was my motivation.         I wanted to try and help              14:40:07


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  1    her because she had spoken to so many people and                      14:40:10
  2    read so much, I wanted to try and help her boil                       14:40:17
  3    things down.                                                          14:40:21
  4         Q.   And had you expressed sentiments that are                   14:40:22
  5    similar to the sentiments that are expressed here                     14:40:26
  6    to Acting Secretary Duke prior to putting it in                       14:40:31
  7    written form here?                                                    14:40:34
  8         A.   Yes.                                                        14:40:35
  9         Q.   Do you remember more or less when you made                  14:40:37
10     the first expressions to Acting Secretary Duke that                   14:40:41
11     you would recommend the extension of TPS for                          14:40:50
12     Honduras, Nicaragua, and El Salvador?                                 14:40:53
13          A.   No.    I don't -- I don't remember a                        14:41:01
14     specific first conversation.                                          14:41:02
15          Q.   Was this conversation -- or were these                      14:41:04
16     concerns or representations that are included                         14:41:07
17     within this memo following conversations that took                    14:41:10
18     place over days before that or weeks before that or                   14:41:15
19     months before that, in your recollection?                             14:41:17
20               MR. KIRSCHNER:       Objection, counsel                     14:41:19
21     testifying about concerns or recommendations.                I        14:41:20
22     just want Ambassador Nealon to speak about the memo                   14:41:23
23     in his own words.                                                     14:41:26
24          A.   So as I've described, this decision was                     14:41:31
25     very much on her mind.         She was struggling with it             14:41:34


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  1    in a good sense of the word, struggling with it as                    14:41:38
  2    a -- as an intelligent, hard-working government                       14:41:42
  3    employee would struggle with a very consequential                     14:41:47
  4    decision.                                                             14:41:50
  5              And so, again, this was just my attempt to                  14:41:51
  6    write something that was very short, pragmatic, and                   14:41:55
  7    that might be of some use to her.                                     14:42:00
  8         Q.   Had you expressed the positions that                        14:42:02
  9    you've outlined in this memo to others in the                         14:42:06
10     Department prior to the writing of this memo?                         14:42:08
11          A.   Yes.    Certainly, I mean, I had spoken up                  14:42:12
12     at meetings where TPS was raised.            You know,                14:42:16
13     frankly, the other reason I wrote the memo is                         14:42:20
14     because I did have a different perspective -- a                       14:42:23
15     unique perspective, having been the Ambassador to                     14:42:26
16     Honduras, a TPS country, and knowing firsthand the                    14:42:30
17     country conditions in a way that other people                         14:42:34
18     simply didn't.                                                        14:42:36
19               And I thought that articulating that very                   14:42:37
20     briefly for her also might help her.                                  14:42:41
21          Q.   How did your knowledge of the country                       14:42:43
22     conditions in your position as Ambassador to                          14:42:54
23     Honduras inform your recommendation to Acting                         14:42:57
24     Secretary Duke?                                                       14:43:03
25          A.   Well, again, I -- I would say that I                        14:43:03


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  1    understood the foreign policy implications better                     14:43:13
  2    than most people did, the foreign policy                              14:43:18
  3    implications of extending or of terminating.                          14:43:20
  4              I understood the -- the possible effects                    14:43:28
  5    on migration, on our ability to help the countries                    14:43:32
  6    of Central America stem further migration if we                       14:43:37
  7    were to send back large numbers of TPS grantees.                      14:43:43
  8              So, I mean, I think this is all pretty                      14:43:47
  9    clear.                                                                14:43:51
10          Q.   I'm not suggesting that it's not clear.                     14:43:51
11     It's just hard to respond to it and not put words                     14:43:55
12     in your mouth, but allow a further conversation                       14:43:58
13     about this.      So I appreciate your efforts to try to               14:44:01
14     elaborate on that.                                                    14:44:03
15               Do you know who this memo was shared with?                  14:44:05
16          A.   Um, so I would have sent it to -- you                       14:44:08
17     know, I honestly don't recall exactly how I                           14:44:29
18     delivered it to her.        I don't recall whether I went             14:44:32
19     through the Executive Secretary process or whether                    14:44:35
20     she asked me to send it directly to her, to her                       14:44:37
21     Chief of Staff.       I just don't recall.                            14:44:41
22          Q.   Okay.                                                       14:44:43
23          A.   It -- it probably went through the                          14:44:44
24     Executive Secretary process because other people in                   14:44:45
25     DHS saw it, so it probably did get disseminated                       14:44:49


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  1    you'd had previously, but also a written document                     15:15:48
  2    that expressed that TPS should be extended for                        15:15:51
  3    Honduras, Nicaragua, and El Salvador?                                 15:15:59
  4         A.   I don't know.                                               15:16:00
  5         Q.   Okay.     Do you have any understanding of                  15:16:00
  6    why she asked you to put in writing your thoughts?                    15:16:11
  7               MR. KIRSCHNER:      Objection, asked and                   15:16:13
  8    answered.                                                             15:16:15
  9         A.   No, not really.       I mean, I really think                15:16:16
10     she was -- she was struggling with an important                       15:16:29
11     decision and she was looking for help, and she                        15:16:33
12     thought I might have some perspectives that would                     15:16:40
13     be useful for her.        I think it's really as simple               15:16:42
14     as that.                                                              15:16:45
15          Q.   Um-hum.     Do you know how the input that                  15:16:46
16     you provided elaborated in this memo was used to                      15:16:51
17     inform the decision that was ultimately taken by --                   15:16:54
18          A.   I don't.                                                    15:16:57
19          Q.   -- Acting Secretary Duke?                                   15:16:58
20                THE WITNESS:     Sorry.                                    15:17:01
21          A.   I don't.                                                    15:17:03
22                (Exhibit 40, DHS_RFPD_00000040, marked for                 15:17:18
23     identification.)                                                      15:17:54
24                MR. KIRSCHNER:      Could we identify the                  15:17:54
25     exhibit for the record?                                               15:17:56


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  1              MS. MacLEAN:      Yes.    I've just introduced              15:17:57
  2    Exhibit 40, which is a memoranda from Acting                          15:18:00
  3    Secretary Duke to USCIS Director Cissna and the                       15:18:06
  4    witness here from November 6, 2017.                                   15:18:18
  5         Q.   So can you describe what this document is                   15:18:27
  6    that we're looking at?                                                15:18:32
  7         A.   This is Acting Secretary Duke's decision                    15:18:32
  8    to terminate TPS for Nicaragua.                                       15:18:35
  9         Q.   And this is less than a week after the                      15:18:37
10     memo that you provided; is that correct?                              15:18:40
11          A.   Yes.                                                        15:18:42
12          Q.   Did Acting Secretary Duke make any                          15:18:42
13     decisions with regard to the two other countries                      15:18:48
14     that were included in your memo for the Acting                        15:18:51
15     Secretary of October 31, 2017 at this time?                           15:18:56
16          A.   You know, I honestly don't recall the                       15:19:01
17     precise timeline of the various TPS decisions.                        15:19:04
18          Q.   Let me go back to the exhibit that was                      15:19:12
19     previously marked as Exhibit 12, which is your memo                   15:19:15
20     to Acting Secretary Duke.          You had included in that           15:19:17
21     memo Honduras, Nicaragua, and El Salvador.               Why did      15:19:23
22     you include all three of those countries?                             15:19:27
23          A.   It's actually a very good question and in                   15:19:30
24     retrospect and in re-reading the memo, the memo is                    15:19:33
25     really talking about Honduras and El Salvador.                So      15:19:37


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  1    it's unfortunate that I marked the memo with                          15:19:40
  2    Nicaragua as well, because Nicaragua wasn't really                    15:19:44
  3    subject to the same kind of discussion as the other                   15:19:48
  4    two countries.       First of all, Nicaragua had not                  15:19:51
  5    requested a renewal of temporary protected status                     15:19:57
  6    and secondly, the country conditions were just                        15:20:00
  7    very, very different at that time, a lot less                         15:20:07
  8    violence, for example, and I don't think anybody                      15:20:09
  9    saw a real problem in Nicaragua taking back                           15:20:14
10     repatriated citizens.         So Nicaragua was always a               15:20:17
11     different problem set than Honduras and El                            15:20:27
12     Salvador.                                                             15:20:30
13          Q.   Was it requested by Acting Secretary Duke                   15:20:30
14     that you provide a memo concerning Honduras,                          15:20:33
15     Nicaragua, and El Salvador?                                           15:20:38
16          A.   You know, I don't recall exactly what she                   15:20:38
17     asked me.     But I do recall that she was really                     15:20:40
18     ruminating about El Salvador and Honduras.               There        15:20:48
19     was much less discussion -- I actually don't recall                   15:20:53
20     very much discussion at all about Nicaragua.                          15:20:54
21          Q.   Do you recall that Acting Secretary Duke                    15:20:57
22     at some point during her tenure did not make a                        15:21:07
23     decision about the TPS designation --                                 15:21:10
24               MS. MacLEAN:      Sorry.     Let me go back.                15:21:13
25          Q.   Do you recall that at some point during                     15:21:15


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  1    her tenure as Acting Secretary, Acting Secretary                      15:21:17
  2    Duke did not make a decision about the TPS                            15:21:21
  3    determination for Honduras allowing it to                             15:21:28
  4    automatically extend for six months?                                  15:21:31
  5         A.   Yes.                                                        15:21:34
  6              MR. KIRSCHNER:       Objection.      I was going to         15:21:35
  7    say objection.       Counsel testifying and                           15:21:36
  8    characterizing the evidence.           I'd ask Ambassador             15:21:39
  9    Nealon be able to put it in his own words.                            15:21:40
10          Q.   Then a week later after your memo, Acting                   15:21:43
11     Secretary Duke made a determination with regard to                    15:21:50
12     Nicaragua.      Do you recall if this is the time                     15:21:51
13     period where Acting Secretary Duke did not make a                     15:21:53
14     decision with regard to Honduras, allowing Honduras                   15:21:58
15     to automatically extend?                                              15:22:02
16          A.   Again, I simply don't remember the exact                    15:22:04
17     chronology of the various decisions.                                  15:22:07
18          Q.   Fair enough.                                                15:22:09
19               (Exhibit 41, NewsRoom article dated May 10,                 15:22:34
20     2018, marked for identification.)                                     15:22:36
21          Q.   So I'm marking the next exhibit as                          15:22:36
22     Exhibit 41.      And this is an op-ed in the Washington               15:22:41
23     Post that you wrote with Ambassador Feeley on                         15:22:48
24     May 10th, 2018.                                                       15:22:55
25          A.   Okay.                                                       15:24:24


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  1                          CERTIFICATE OF REPORTER
  2                I, Dana Welch, a Certified Shorthand
  3    Reporter, hereby certify that the witness in the
  4    foregoing deposition was by me duly sworn to tell
  5    the truth, the whole truth, and nothing but the
  6    truth in the within-entitled cause;
  7                That said deposition was taken in
  8    shorthand by me, a disinterested person, at the time
  9    and place therein stated, and that the testimony of
10     the said witness was thereafter reduced to
11     typewriting, by computer, under my direction and
12     supervision;
13                 That before completion of the deposition,
14     review of the transcript [X] was [ ] was not
15     requested.     If requested, any changes made by the
16     deponent (and provided to the reporter) during the
17     period allowed are appended hereto.
18                 I further certify that I am not of counsel
19     or attorney for either or any of the parties to the
20     said deposition, nor in any way interested in the
21     event of this cause, and that I am not related to
22     any of the parties thereto.
23                           Dated:    August 15, 2018.
24              _______________________________________
25               Dana Welch, CSR, RPR, CRR, CRC


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